918 F.2d 955Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Betty Jo MITCHELL, Plaintiff-Appellant,v.UNITED STATES of America, Defendant-Appellee.
    No. 90-3120.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 26, 1990.Decided Nov. 21, 1990.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Terrence W. Boyle, District Judge.  (CA-90-315-5-CIV-B)
      Betty Jo Mitchell, appellant pro se.
      E.D.N.C.
      AFFIRMED.
      Before PHILLIPS and CHAPMAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Betty Jo Mitchell appeals from the district court's order dismissing her case for want of subject-matter jurisdiction.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Mitchell v. United States, CA-90-315-5-CIV-B (E.D.N.C. July 12, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    